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                 UNITED STATES DISTRICT COURT
                    DISTRICT OF NEW JERSEY


IN RE: JOHNSON & JOHNSON
TALCUM POWDER PRODUCTS                 Case No. 3:16-md-2738-MAS-RLS
MARKETING, SALES PRACTICES
                                       MDL Case No. 2738
AND PRODUCTS LIABILITY
LITIGATION                             Motion Day: October 21, 2024



   DEFENDANT JOHNSON & JOHNSON’S SECOND MOTION TO
  REMOVE BEASLEY ALLEN FROM THE PLAINTIFFS’ STEERING
                     COMMITTEE
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                                INTRODUCTION

      This Court is well versed in the ethical mess surrounding Beasley Allen’s

improper relationship with Johnson & Johnson’s former lawyer, James Conlan. As

J&J explained in its pending motion to disqualify Beasley Allen or remove it from

the Plaintiffs’ Steering Committee, the firm’s collaboration with Conlan on a

mediation adverse to his former client—and unsuccessful attempt to hide that

collaboration from the Court—violated multiple ethical rules and casts serious doubt

on Beasley Allen’s continued ability to lead this MDL. That conduct is not the basis

for this motion.     The basis for this motion is additional misconduct that

independently warrants Beasley Allen’s removal from the PSC—namely, its

attempts to thwart J&J’s bankruptcy plan by falsely certifying that it had obtained

informed consent to vote against the plan from claimants who did not provide that

consent and indeed voted for the plan.

      In May 2024, J&J announced that it would be pursuing a bankruptcy plan to

resolve all current and future claims related to ovarian cancer arising from cosmetic

talc litigation against the company and its affiliates. The plan represents by far the

most valuable offer J&J has made to achieve final resolution of this litigation, both

in terms of value (currently, more than $8 billion) and timing of payments. Unlike

its prior two bankruptcy efforts, this was a “prepackaged” bankruptcy plan that gave

talc claimants the power to decide whether it will go forward. Only if 75% of eligible


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claimants voted in favor of the announced plan would J&J file a bankruptcy petition

seeking its confirmation.

      To solicit votes, J&J (through a third party called a solicitation agent) sent

ballots to claimants’ counsel instructing that they could vote for or against the plan

on behalf of their clients only if they certified under oath that (i) their clients gave

their informed consent, or (ii) they had the power of attorney to vote on their clients’

behalf. Beasley Allen pursued the first option, certifying that it had obtained the

informed consent of 11,434 claimants to “reject” the plan. That was a false

certification. As the sworn affidavits attached to this motion show, Beasley Allen

purported to vote against the plan, contrary to claimants’ wishes and without their

consent. Those claimants “voted in favor of the Plan” through their counsel of

choice, and indeed “have no recollection of ever receiving any direct contact from

Beasley Allen regarding the Plan, or asking [them] how [they] would like to vote.”

      This is a severe breach of trust that warrants Beasley Allen’s removal from the

PSC. Perhaps the single most important criterion for lead counsel in an MDL is the

firm’s ability to represent all plaintiffs’ interests over its own. If the firm cannot do

that, the efficiency benefits promised by consolidated litigation give way to fairness

concerns. Can the firm be trusted to act in the best interest of all plaintiffs, rather

than its own best interest? Can the Court and defendant trust the firm when it

purports to speak on plaintiffs’ behalf? In this case, the answer to these questions is


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no. Voting against a plan to conclusively resolve this litigation without consent and

against claimants’ wishes is anathema to leadership of an MDL. For these reasons

and those that follow, this Court should exercise its discretion to remove Beasley

Allen from the PSC.

                                 BACKGROUND

      A.     Beasley Allen Opposes Most Talc Claimants’ Interest In
             Consensual Resolution Through Bankruptcy

      J&J is committed to resolving the talc litigation in a manner that is fair and

reasonable for all parties. To that end, J&J has twice proposed resolution through

the bankruptcy process—proposals that would resolve the litigation only if 75% of

talc claimants voted in favor of the plan. Both times, J&J had the support of the vast

majority of claimants. See Dkt. 31809 (Plenary Hr’g 3/25 (AM) Tr. 42:13-43:16).

Indeed, J&J filed its second bankruptcy petition with the support of more than

60,000 claimants. See Debtor’s Statement Regarding Refiling of Chapter 11 Case at

2, In re LTL Mgmt., LLC, No. 23-12825-MBK, ECF No. 3 (Bankr. D.N.J. Apr. 4,

2023). Nevertheless, Beasley Allen prevented claimants from voting on the plans,

successfully arguing that J&J’s subsidiary, LTL Management LLC (later known as

LLT Management LLC), was not eligible under the Bankruptcy Code to declare

bankruptcy. See In re LTL Mgmt., LLC, 2024 WL 3540467 (3d Cir. July 25, 2024);

In re LTL Mgmt., LLC, 58 F.4th 738 (3d Cir. 2023). Beasley Allen opposed the vote



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while it was collaborating with counsel who previously represented J&J on this same

matter, same claims, and same issues. See Dkt. 32207 at 25-28, 30-32.

      It is no secret why Beasley Allen has steadfastly opposed resolution through

bankruptcy. The firm stood to make significant sums through common benefit fees

if the claims were resolved through litigation. See, e.g., Case Management Order

7(A); Dkt. 32149 (5/3 Tr. 53:10-55:10); Dkt. 28760-6 (Birchfield Dep. at 28:9-11).

By contrast, Beasley Allen would not have been entitled to common benefit fees

under J&J’s announced bankruptcy plans, as Beasley Allen’s head of mass torts,

Andy Birchfield, admitted at the plenary hearing on J&J’s motion to disqualify the

firm. See Dkt. 32149 (5/3 Tr. 53:18-20); see also Dkt. 28760-6 (Birchfield Dep. at

18:8-25, 20:24-22:19). Beasley Allen has thus fought J&J’s bankruptcy efforts at

every stage, effectively denying recovery to thousands of claimants who support

resolution in bankruptcy.

      Notwithstanding Beasley Allen’s opposition, J&J maintains that resolution

through bankruptcy is the best and most appropriate approach to achieving final

resolution of this litigation, both for plaintiffs (who have overwhelmingly lost in

litigation) and for itself.   In May 2024, J&J announced a third proposed

reorganization to resolve all current and future claims related to ovarian cancer

arising from cosmetic talc litigation against J&J and its U.S. affiliates (accounting

for 99.75% of the pending U.S. talc lawsuits against those companies, excluding


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mesothelioma cases). 1 Unlike the previous plans that were stymied by Beasley

Allen, this one gives talc claimants the power up front to decide whether it goes

forward. Specifically, J&J proposed what is called a “prepackaged” bankruptcy

plan: If the plan did not receive 75% approval, J&J would not file a bankruptcy

petition and seek approval of the plan. 2

      The plan represents by far J&J’s most generous offer to resolve the talc

litigation. Initially, it provided that talc claimants would recover approximately $8

billion dollars over 25 years, a present value of $6.475 billion. 3      J&J has since

increased the value of the plan by $1.1 billion and accelerated the timing of

payments.

      To achieve confirmation of a “prepackaged” plan, J&J must solicit votes in

compliance with the Bankruptcy Code. See 11 U.S.C. §§ 1125, 1126.4 To this end,


1
   J&J Press Release (May 1, 2024), https://www.jnj.com/media-center/press-
releases/johnson-johnson-announces-plan-by-its-subsidiary-llt-management-llc-to-
resolve-all-current-and-future-ovarian-cancer-talc-claims-through-a-consensual-
prepackaged-reorganization.
2
      See      LLT      Press    Release      at     2      (June      10,      2024),
https://document.epiq11.com/document/getdocumentbycode/?docId=4341383&pro
jectCode=RRI.
3
      See     id.    at     1;    Red     River      Press      Release      at     1,
https://document.epiq11.com/document/getdocumentbycode/?docId=4343603&pro
jectCode=RRI (last visited Sept. 18. 2024).
4
          See         also        Disclosure         Statement           at        iv,
https://document.epiq11.com/document/getdocumentbycode/?docId=4339529&pro
jectCode=RRI (last visited Sept. 19, 2024) (“Prior to soliciting votes on a proposed
plan of reorganization, section 1125 of the Bankruptcy Code requires a debtor to
prepare a disclosure statement containing information of a kind, and in sufficient
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J&J prepared a detailed disclosure statement, 5 which its solicitation agent sent along

with voting ballots to claimants’ counsel. As the materials make clear, a lawyer

representing a talc claimant can vote for or against the plan only after the client has

(i) provided his or her informed consent to the vote, or (ii) grants the lawyer power

of attorney to vote on the client’s behalf. See Ex. 22 at 3 (Beasley Allen Master

Ballot).

      B.     Beasley Allen Votes Against The Plan Without Its Clients’ Consent
             And Contrary To Their Wishes

      Because Beasley Allen represents multiple talc claimants, it received a Master

Ballot on which to record its clients’ votes. See id. (Beasley Allen Master Ballot).

Consistent with Beasley Allen’s staunch opposition to resolving this litigation

through bankruptcy, its ballot represents that the majority of its clients voted against

the plan. See id. at 1; Ex. 23 (Beasley Allen Master Ballot Spreadsheet). 6 In casting

those votes, Birchfield certified under penalty of perjury that he “obtained authority

to procedurally cast such Client’s vote,” and that “[e]ach such Client has indicated

his or her informed consent with respect to such vote.” Id. at 3-4 (Beasley Allen

Master Ballot). That certification was false.



detail, to enable a hypothetical reasonable claimant to make an informed judgment
regarding acceptance or rejection of such plan of reorganization.”).
5
  Id.
6
  Ex. 23 is the Master Ballot spreadsheet submitted by Beasley Allen, reflecting all
of the purported votes of its clients on J&J’s prepackaged plan. Pursuant to L.R. 5.2
and 5.3, birthdays have been redacted.
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       To date, 21 plaintiffs who voted for the plan through their “counsel of choice,”

Jim Onder of OnderLaw, have certified that Beasley Allen falsely cast ballots against

the plan on their behalf without their consent. See Exs. 1-21. 7 These claimants

further explain that they “never directed Beasley Allen to cast a ballot on [their]

behalf against the Plan,” and that “the vote cast by Beasley Allen without [their]

consent does not reflect [their] wishes.” Id. Whether Beasley Allen represents these

claimants jointly with OnderLaw or whether Beasley Allen does not represent them

at all, its conduct is highly problematic: Beasley Allen purported to vote claims

without claimant consent and against their wishes.

      This does not appear to be a limited occurrence. Beasley Allen has been

accused by the Smith Law Firm of interfering with its ability to communicate its

support for the plan to its clients. See Compl. ¶¶ 55, 59, The Smith Law Firm, PLLC

v. Andy Birchfield Jr., No. 3:24-cv-00564-CWR-ASH (S.D. Miss. Sept. 19,

2024). To be sure, Beasley Allen has also sued the Smith Firm. See Beasley, Allen,

Crow, Methvin, Portis & Miles, P.C. v. The Smith Law Firm, PLLC, No. 2:24-cv-

00582-JTA (M.D. Ala. filed Sept. 10, 2024). Regardless of the outcome of these



7
 Exhibits 1-21 contain (1) certifications by plaintiffs who voted for the plan, but for
whom Beasley Allen attempted to cast a vote against the plan; and (2) copies of the
ballots their chosen counsel, OnderLaw, submitted in favor of the plan at the
plaintiffs’ direction. Pursuant to L.R. 5.2 and 5.3, birthdays and the first five digits
of social security numbers are redacted, along with their street addresses, email
addresses, and phone numbers.
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claims, Beasley Allen unquestionably misrepresented and contravened its clients’

positions and interests, and its ability to lead this litigation has been severely and

irrevocably compromised.

                                   ARGUMENT

      This Court has “inherent power” to determine the membership of the PSC.

Plaintiffs’ Baycol Steering Comm. v. Bayer Corp., 419 F.3d 794, 797 (8th Cir. 2005);

see also In re Terrorist Attacks on Sept. 11, 2001, 2023 WL 4561766, at *13-14

(S.D.N.Y. July 17, 2023). As the Manual for Complex Litigation explains, among

the most critical criteria for a firm’s membership on a PSC are its ability to “fairly

represent the various interests in the litigation” and “command the respect of their

colleagues and work cooperatively with opposing counsel and the court.” Manual

for Complex Litigation § 10.224 (4th ed. Sept. 2024 update); see also, e.g., In re San

Juan Dupont Plaza Hotel Fire Litig., 1989 WL 168401, at *6 (D.P.R. Dec. 2, 1988)

(considering “ability to work cooperatively with others” as one of the “main criteria

for membership in the PSC”). Thus, when counsel are chosen for a leadership role

by the court, they assume “an obligation to act fairly, efficiently, and economically

in the interests of all parties and parties’ counsel.” Manual for Complex Litigation

§ 10.22. Beasley Allen recognized as much when it applied (along with several

others) for a leadership role: Ms. O’Dell “committed to working cooperatively and

collaboratively for the common good of all plaintiffs.” Dkt. 54 at 10.


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      There is no singular standard under which a court must evaluate the propriety

of a request to remove an attorney from a PSC. Courts have removed attorneys from

steering committees for reasons not approaching ethical misconduct, such as poor

performance. See, e.g., In re Merscorp Inc., Real Est. Settlement Procs. Act Litig.,

2007 WL 4166128, at *1 (S.D. Tex. Nov. 20, 2007) (noting attorney was removed

as liaison counsel after “repeated failures to communicate and cooperate with” co-

counsel, opposing counsel, and the court). But it stands to reason that the same

criteria governing appointment to the PSC should carry significant weight in

removal. If counsel prove unable to represent the various interests of all plaintiffs

and work cooperatively with opposing counsel and the court, then they should not

continue in a leadership role. See Dkt. 73 at 2 fn. 2 (Judge Wolfson approving PSC

membership but advising the parties that the Court “reserves the right to amend the

structure of the committees during the pendency of these MDL proceedings”). Such

is the case here.

      By voting on J&J’s bankruptcy plan without claimant consent and against

their wishes, Beasley Allen has demonstrated (again) that it cannot “fairly represent

the various interests in the litigation” or “command the respect of [its] colleagues

and work cooperatively with opposing counsel and the court.” Manual for Complex

Litigation § 10.224. Indeed, the facts here reflect a serious failure of leadership and

breach of trust. As twenty-one talc claimants have certified, the votes Beasley Allen


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purported to cast on behalf of these claimants were “without [their] consent” and do

“not reflect [their] wishes.” See Exs. 1-21 (Claimant Declarations).

      It does not matter whether Beasley Allen jointly represented these claimants

with another firm. If that is the case, Beasley Allen purported to vote on behalf of

its joint clients without consent. And those votes would also reflect a breakdown in

communications with co-counsel, which is another red flag for Beasley Allen’s

continued membership on the PSC. Alternatively, if Beasley Allen did not represent

these claimants, then it had no business voting for them at all. Beasley Allen’s

membership on the PSC does not authorize it to make client decisions on behalf of

clients represented by other firms. It is clear that Beasley Allen’s ability to represent

all talc plaintiffs’ interests and work collaboratively with other firms has been

severely and irreparably compromised. 8




8
  Although this Court need not find a violation of ethics rules to remove Beasley
Allen from the PSC, its conduct raises serious questions under New Jersey’s Rules
of Professional Conduct. For instance, lawyers are required to keep their clients
informed of material developments in the litigation and abide by the client’s
decisions concerning the representation. See N.J. RPC 1.2, 1.4. Voting on behalf of
claimants without their consent and against their wishes is contrary to these rules
and the overarching principle that the client, not the lawyer, is responsible for the
ultimate decisions respecting the litigation. Moreover, Birchfield certified under
penalty of perjury that these claimants “indicated his or her informed consent with
respect to such vote,” Ex. 22 at 3, which appears not to be true. See Exs. 1-21 (“I
never directed Beasley Allen to cast a ballot on my behalf against the plan …. and
the vote case by Beasley Allen without my consent does not reflect my wishes.”).
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      Beasley Allen’s conduct has ramifications not just for its relationship with

other plaintiffs and their counsel, but also for J&J and the Court. To obtain

confirmation of its prepackaged bankruptcy plan, J&J’s solicitation agent needed to

certify that 75% of eligible claimants voted in favor of the plan. Beasley Allen cast

votes without client consent in an effort to thwart J&J’s (and the majority of talc

claimants’) ability to achieve final, consensual resolution of this litigation. By the

same token, Beasley Allen’s conduct casts a cloud over its continuing ability to

represent all claimants’ interests before this Court. This Court cannot be certain

whether Beasley Allen is representing its own interests or those of all plaintiffs

whose claims are consolidated in this MDL.

      Nor is this a one-off (or twenty-one-off) problem. As mentioned above, supra

at 7, Beasley Allen has been accused by the Smith Law Firm of similar misconduct

in an effort to thwart resolution through bankruptcy. See Compl. ¶¶ 55, 59. In

fairness, Beasley Allen has also accused the Smith Law Firm of misconduct. But

this Court need not take sides in this internecine dispute. All that matters is that

these disputes exist. A firm on the PSC must be capable of leadership. Beasley

Allen is not. A firm that is suing and being sued by the firms it is supposed to lead

is not one that can “fairly represent the various interests in the litigation” or

“command the respect of their colleagues.” Manual for Complex Litigation §

10.224.


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      Ultimately, Beasley Allen’s conduct hinders the parties’ ability to achieve

what everyone wants: final resolution of the cases in this MDL. Most immediately,

it calls into question Beasley Allen’s ability to represent all plaintiffs with respect to

J&J’s bankruptcy plan. More broadly, it calls into question Beasley Allen’s ability

to work with plaintiff’s counsel and J&J’s counsel to resolve these cases in a way

that is acceptable to all parties. That is, after all, the core function of a lawyer on a

PSC—to lead the MDL to final resolution. Beasley Allen can no longer perform that

function. This Court should therefore exercise its inherent authority and remove the

firm and its attorneys from the PSC.

                                   CONCLUSION

      For the foregoing reasons, J&J’s Motion to Remove Beasley Allen from the

Plaintiffs’ Steering Committee should be granted.



Dated: September 20, 2024                       Respectfully submitted,



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